                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI

                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Isaac McPheeters, being first duly sworn, do hereby depose and state that:

 1.     I am a Special Agent ("SA") with the Federal Bureau of Investigation                ("FBI"), United

        States Department     of Justice ("DO]"),     and I am currently assigned to the Springfield,

        Missouri, Resident Agency of the FBI's Kansas City, Missouri, Division.

2.      As part of my duties with FBI, I investigate criminal violations of Title 18 of the United

        States Code, including violations of 18 U .S.C. § 922(g)(1), that is, possession of firearms

        and ammunition by a felon.

3.      The statements      in this affidavit    are based   on personal    observations,     training   and

        experience, investigation      of this matter, and information   obtained from other agents and

        witnesses.   Because this affidavit is being submitted for the limited purpose of securing a

        criminal complaint,    this affiant has not included       each and every fact known to me

        concerning this investigation.       The affiant has set forth the facts necessary to establish

        probable cause to believe that TIMOTHY           ZEGAR has violated 18 U.S.C. § 922(g)(1),

        that is, possession of a firearm by a convicted felon.

                                           PROBABLE CAUSE

4.      In August 2022, the FBI opened an investigation        based on information indicating that an

        individual identified as TIMOTHY          RUSSELL     ZEGAR (ZEGAR) was engaged in the

        illegal trafficking of firearms.

5.     As part of the investigation,     a check of ZEGAR's     criminal record revealed that ZEGAR

        had been convicted      of fleeing    and eluding    in the Circuit Court of Racine County,

        Wisconsin on June 7, 2016.          Fleeing and eluding is a felony punishable        by a term of




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       imprisonment     exceeding   one year under the laws of the State of Wisconsin.               I later

       obtained certified records documenting    ZEGAR's     conviction.

6.    Beginning on October 19, 2022, a Special Agent with the Bureau of Alcohol, Tobacco,

      Firearms,    and Explosives   (A TF), acting in an undercover          capacity    (the UC), began

      exchanging    messages with ZEGAR discussing         the possibility     of the UC purchasing          a

      firearm from ZEGAR.

7.    On January 18,2023,     ZEGAR sent the UC a message stating: "I have a fuck ton of ak

      30mags and a 60 rnd ar mag and plates and a shit ton of carriers and rifles and ammo and

      shit piled on top of shit for sale Lol."   The UC indicated that he was still interested in

      purchasing a firearm and arranged a meeting with ZEGAR at ZEGAR's                  residence located

      at 3572 North Farm Road 123, Springfield, Greene County, Missouri.

8.    On January 21, 2023, the UC proceeded          to the ZEGAR's   residence and was greeted by

      ZEGAR who invited the UC inside home. ZEGAR and one other unknown person were

      inside the residence with the uc. The UC observed ZEGAR get some keys and walk into

      another room inside the residence.   The UC understood       from this action that ZEGAR was

      going to retrieve the firearm from either a locker or a safe. ZEGAR then returned with a

      Spike's Tactical, model STI5, .556 caliber rifle, SN: LT003881.            The rifle was black in

      color with an optic mounted on the top. On the left side of the lower receiver was a logo of

      a unicorn with the description,    "Snowflake    Cal-Multi   Mod-STI5       LT003881."      ZEGAR

      advised the UC that the price for the purchase of the rifle would be $800.00.          The UC paid

      ZEGAR $800.00 in United States Currency and took possession of the rifle.

9.    During the meeting, the UC observed a firearm laying on the couch of the living room.

10.   The rifle purchased from ZEGAR was later examined and determined                  to be operational.



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       Further,    Special Agent Brian Fox of the Bureau of Alcohol,      Tobacco,   Firearms,   and

       Explosives was consulted regarding the firearm. Based upon the description of the firearm

       and his training and experience, Agent Fox confirmed that such firearm was manufactured

       outside of the state of Missouri.

                                           CONCLUSION

 11.    Based on the above facts, this affiant believes there is probable cause in support of a

        criminal complaint against TIMOTHY       ZEGAR for violation of 18 U .S.C. § 922(g)(1),

        that is, possession of firearms and ammunition   by a felon.


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                                             Isaac McPheeters
                                             Special Agent
                                             Federal Bureau ofInvestigation


       Sworn to and subscribed to before me in my presence via telephone on this      31st       day

of January 2023.




                                             The Honorable David P. Rush
                                             Chief United States Magistrate Judge
                                             Western District of Missouri




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